

People v Davis (2023 NY Slip Op 03441)





People v Davis


2023 NY Slip Op 03441


Decided on June 27, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 27, 2023

Before: Webber, J.P., Singh, Kennedy, Scarpulla, JJ. 


Ind. No. 44/20 Appeal No. 560 Case No. 2021-00467 

[*1]The People of The State of New York, Respondent,
vRashawn Davis, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Paris C. DeYoung of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Robert Butlien of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Laura A. Ward, J.), rendered February 08, 2021,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 27, 2023
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








